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[Dowed7] [Order Withholding Entry of Discharge]




                                          ORDERED.
Dated: May 2, 2018




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                    Case No. 6:18−bk−00572−CCJ
                                                                          Chapter 7
Danielle Jackson



________Debtor*________/

                             ORDER WITHHOLDING ENTRY OF DISCHARGE

  THIS CASE came on for consideration upon the Court's own motion to consider the entry of an appropriate
order. The Court has considered the record and finds that:

         The Debtor has failed to pay the prescribed filing fee for this case.

       An Order Approving the Payment of the Filing Fees in Installments was entered on February 2, 2018 .
The Debtor has failed to comply with the order by failing to remit the balance due in the amount of $335.00
pursuant to Fed. R. Bankr. P. 1006.

         The Debtor Remove this text or type debtor's name if only one in a joint case has not filed a
certification about a financial management course required by 11 U.S.C. § 727(a)(11).

       The Debtor has failed to pay the $25.00 conversion fee as required by 28 U.S.C. § 1930(8.2) for a
motion or notice of conversion to Chapter 7.

   Accordingly, it is

   ORDERED:

    1. The entry of a discharge in this case is withheld until such time as the Debtor cures the above−described
deficiency pursuant to 11 U.S.C. § 105 of the Bankruptcy Code and/or Fed. R. Bank. P. 4004(c)(1)(G)
(relating to fees not paid).

   2. The case will be reviewed for possible closing in thirty days, if appropriate. The Debtor's failure to cure
the above−described deficiency prior to the case being closed will result in the case being closed without entry
of a discharge. If the Debtor later files a motion to reopen the case in order to cure the deficiency and to
obtain a discharge, the Debtor will be required to pay a reopening fee in the amount of $260.00 as prescribed
by 28 U.S.C. § 1930(a) and Item (11) of the Bankruptcy Court Miscellaneous Fee Schedule.
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   3. This order shall not be construed as an order either denying or granting a discharge.



The Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
